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                                                                                             2019 Jan-31 PM 04:36
                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA



                    UNITED STATES DISTRICT COUET
                   NORTHERN DISTRICT OF ALABAMA"
                          WESTERN DIVISION y t ;; :; ~ n .::) Z: _l
                                                           Lio ~"'' _,   u          1    5

BRETT LAFERRERA                                            i\,__   i,
                                                                                        .\
Plaintiffs,

v.
V ALIC FINANCIAL ADVISORS,                                     Case No.
INC (VFA) AND FINANCIAL
INDUSTRY REGLATORY
                                                 ~'. \{\-t\l- \"=\d~ ~Q_,
AUTHORITY (FINRA)

Defendants.



       PLAINTIFF BRETT LAFERRERA'S PETITION TO CONFIRM
     ARBITRATION AWARD and REQUEST FOR ORDER TO EXPUNGE


       Come now Brett LaFerrera, pro-se plaintiff in the above captioned matter,
seeking confirmation of a FINRA arbitration award pursuant to the Federal
Arbitration Act and U.S. Code Section 9 (9 U.S.C.    ~   9).

                                   Background

       In or around December 29, 2015, the VALIC Companies initiated this dispute
against the LaFerrera parties.

       In March of 2016, the VALIC Companies initiated a F[NRA arbitration
proceeding against Brett LaFerrera and Jessica LaFerrera pursuant to their obligation
under FINRA Rule 13200. As such, the matter before the court regarding Brett




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LaFerrera and Jessica LaFerrera was stayed following the arbitration hearings. A
motion to compel arbitration with Crimson Capital Group however was denied.

           In or around March 29, 2017, following an appeal to the Eleventh Circuit
Court, an order was issued staying the matter in its entirety against Crimson Capital
Group.

           ln or around November 26, 2018, the parties notified the court that all issues
were resolved and pursuant to the parties' Joint Stipulation of Dismissal with
Prejudice (Doc. 86), the case was dismissed in its entirety.

           However, upon agreement the parties signed a "Stipulation Regarding
Hearing ofExpungement Claim" that allowed for an "expungement hearing [to be]
be held and be limited to expungement of disclosure information on the LaFerrera
Respondents' Form U5." 1

           On November 27, 2018, the expungement hearing was held and an award
subsequently issued.

       1. The Expungement Hearing and Award

       As it relates to Brett LaFerrera, two issues were before the panel. The first issue
dealt with the termination disclosures on the Form U5, specifically the responses to
questions 7B and 7F filed by V ALIC Financial Advisors. The second issue dealt
with an email forwarded to VALIC Financial Advisors by an HR representative at
the University of Alabama that was subsequently labeled a customer complaint by
the company. Once labeled a customer complaint, VF A felt obligated, pursuant to
FINRA Rule 4530, to report the written complaint on Mr. LaFerrera's Form U5. The




1
    See ,i 4 on Page 7 of the Award for FINRA Case #16-00910 attached as Exhibit l.

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email in question was written in response to the7F disclosure 2 made public by way
of FINRA's online resource for researching brokers, BrokerCheck>:, by a former
customer of Mr. LaFerrera's, Jan Scurlock, ("the Scurlock Complaint").

    Ms. Scurlock's email, written January 28, 2016, and subsequently labeled a
written customer complaint, reads in relevant part:

        "Morning Hiron, Please call me when you have time. I have questions
        about our former V ALIC representative and his claim of V ALIC's so
        called special advisors (that looks like now was really him). Did
        deduction from my pay go to V ALC and he somehow set it up to go to
        be diverted from them to one of his companies? Or was the deduction
        from my pay going some to Valic and then some to his company? If
        some of the deduction was going straight to one of his companies does
        this need to be stopped separately or will my changing from Valic to
        TIAA stop money going to Valic and him? Sounds to me with the
        V ALIC investigation that the money he as taking was not going to them
        to better manage my account and they had no special advisory group.
        This [this] money should have been going into my retirement account
        - not his pocket. .. The document I found says he is under
        investigation ... "3 (emphasis added).


    Upon receipt of Ms. Scurlock's email, VF A filed a Form US amendment for Mr.
LaFerrera reporting a written customer complaint which reads "Customer alleged
Rep may have diverted funds meant to be deposited into her retirement account to
                                   4
one of his companies"                  This complaint remains in the Central Registration
Depository ("CRD") maintained by FINRA under the occurrence #1868785. It is

2
  7F on the Form US asks "Did the individual voluntarily resign from your firm, or was the individual discharged or
permitted to resign from your firm, after allegations were made that accused the individual of: (1) violating
investment-related statues, regulations, rules or industry standards of conduct?" Mr. Laferrera's Form US was
marked affirmatively for this question. When 7F is answered affirmatively, the information is stored in the Central
Registration Depository (CRD) and subsequently pulled through to public website of www.brokercheck.finra.org. The
disclosure therefore available for the entire public to see read "The Individual Voluntarily resigned while under
suspension and investigation by the firm for sales practice concerns and violations of firm privacy policy and Code
of Conduct," It was because of this very disclosure that Ms. Scurlock instigated her email to HR.
3 See Page 2 of Exhibit 2, the email from Ms. Scurlock that was deemed a written customer complaint.
4
  See Exhibit 3, an exact copy of Mr. LaFerrera's Form US filed November 26, 2018.

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this event, and only this event, that Mr. LaFerrera seeks an order from the court
granting expungement relief.

      Unquestionably, the "document" Ms. Scurlock found was the publicly available
disclosure available on www.brokercheck.finra.org, which has been expunged
pursuant to the FINRA award due to the defamatory nature of the language. Ms.
Scurlock admits in a subsequent email to Ms. Stiell that the BrokerCheck:' website
was the source of this information and even sends the link to BrokerCheckK for Ms.
Stiell to investigate for herself. 5

       By Ms. Scurlock's own writings, her email, labeled a written customer complaint
by VFA and subsequently disclosed on Mr. LaFerrera's Form US, now available
publicly on FINRA's BrokerCheck:ic website, was instigated specifically because of
the disclosure to the affirmative answer of 7F. Without the 7F disclosure, Ms.
Scurlock's email would never have been created, and thus a written customer
complaint would never exist on Mr. LaFerrera's record.

       During the expungement hearing, evidence was shown to the panel which proves
unequivocally that Mr. LaFerrera did not "divert" or "attempt to divert" funds from
Ms. Scurlock's retirement account to one of his companies.

       Within hours of receiving Ms. Scurlock's email dated January 28, 2016, Ms.
Stiell, the University of Alabama HR representative, replied to Ms. Scurlock and
unequivocally stated that no money was being sent to Mr. LaF errera or any company
he may own;

           "Jan ... You are a participant in the V ALIC 403(b) plan. When money
           is payroll deducted from your check, that money is sent directly from
           the University to V ALIC, not to any individual broker or representative.
           Your money is also not being sent to any other company." 6

5
    See Exhibit 4.
6
    See page 1 of Exhibit 2, an email responding to Ms. Scurlock from Hiron Stiel I.

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      In addition, to this clear proof that Ms. Scurlock's concerns are unfounded,
evidence was shown to the panel that VALIC Financial advisors researched Ms.
Scurlock's inquiry and found that no money was missing from her account.
VALIC even sent Ms. Scurlock confirmation of this finding in a letter dated March
7, 2016 in which the company writes:

           "Additionally, please accept this letter as confirmation our research has
           found all payroll deductions taken by your employer have been
           successfully applied to your VALIC accounts as regular
           contributions and there is no evidence of illicit activity regarding these
           payroll deductions." 7


      Finally, presented to the panel was an affidavit signed under oath by Ms. Scurlock
stating

           "there has not and is not any money missing from my investment
           accounts with my employer the University of Alabama in anyway
           related to Mr. LaFerrera ... there has not and is not any money which
           was deducted from my payroll and divert to any companies Mr.
           LaFerrera may own or have any type of ownership interests
           conceming." 8


       Therefore in or around January 10, 2019, the public award was issued granting
the LaFerrera's request for expungement. As it relates to Brett LaFerrera, the award
reads in part;

           "The Panel recommends the expungement of the "Yes" answer to
           Question 7F(l) on the Form US filed by V ALIC Financial Advisors,
           Inc. on November 26, 2018 from the registration records for
           Respondent Brett LaFerrera (CRD# 2496912) maintained by the CRD.
           The Panel recommends that the answer be changed to "No" and the

7
    See Exhibit 5, a letter from VALIC to Ms. Scurlock.
8
    See affidavit of Ms. Scurlock attached as Exhibit 6.

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          accompanying Termination Disclosure Reporting page be deleted in its
          entirety. These recommendations shall apply to all previous and
          subsequent disclosures concerning this event, including but not
          limited to, the Form U4 filed on January 25, 2016 by MSl Financial
          Service." (emphasis added).


          Because Ms. Scurlock admits that her email was prompted by the
information found on BrokerCheck~ (which was displayed because of the
affirmative finding to 7F) the customer complaint is a subsequent disclosure
pertaining to "this event" and by way of the panel's award should be deleted
in its entirety. 9

      2. FINRA Rules for Expungement of Customer Complaint

      Pursuant to the panel's award, the termination disclosures for 7B and 7F have
already been deleted in their entirety. The disclosure related to Ms. Scurlock
however was filed as a customer complaint, and therefore FIN RA rules require more
than just an award in order to delete the entry.

      FINRA rule 2080 governs the expungements of Customer Complaints and states
(a) Member or associated persons seeking to expunge information from the CRD
system arising from disputes with customers must obtain an order from a court of
competent jurisdiction directing such expungement or confirming an arbitration
award containing expungement relief. It is this order and/or confirmation that Mr.
LaFerrera seeks now.

      Further Rule 2080(b) requires that FINRA be named as an additional party unless
the relief is based on affirmative judicial findings that one or more of the following
are true.


9   See Exhibit 7 in which Mr. Zailskas, the case coordinator for FINRA, confirms that the language provided here
addresses the issue of Ms. Scurlock's complaint.

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           (A) the claim, allegation or information 1s factually impossible or clearly
                erroneous;

           (B) the registered person was not involved in the alleged investment-related
                sales practice violation, forgery, theft, misappropriation or conversion of
                duns; or

           (C) the claim, allegation or information is false.

           Based on the evidence presented to the panel and included even in this filing,
clearly Ms. Scurlock's reported concerns are ill-founded and false. Ms. Scurlock's
employer, the University of Alabama confirms that no money is missing from her
account, V ALIC by way of communication with Ms. Scurlock confirms no money
is missing and further no illicit activity occurred and Ms. Scurlock herself states no
money is missing from her accounts. Clearly, the disclosure on Mr. Laferrera's
form US is false, erroneous and factually impossible. What's more, Mr. Laferrera
was not involved in any sales practice violation because no sale practice violation
occurred. Not only is FINRA Rule 2080( 1) met, it is met in all three reasons granting
expungement.

           Finally, the panel was presented with an email from Ms. Scurlock's
representative, Mr. Standridge, that Ms. Scurlock has no objection to the request for
expungement 10 • In addition, counsel for V ALIC Financial Advisors, present at the
expungement hearing before the FINRA panel, did not object to the expungement of
this customer complaint, but in fact supported the request. 11

                                                     Conclusion



10
     An exact copy of Mr. Standridge's email is attached as Exhibit 8.
11
   As noted in the award, the expungement hearing was inadvertently not recorded and thus the record supporting
this statement is unavailable otherwise the transcript would be presented to the court which clearly demonstrates
that VFA, through counsel, made statements to the panel that this complaint should be expunged.

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           There is no legitimate reason to allow this false customer complaint to remain
on Mr. LaFerrera's Form US, Form U4 or any public disclosure page found on
FINRA's BrokerCheck''. Conversely, there are ample reasons to remove it. The
allegation of theft or misappropriation of funds, which is the category under which
VF A filed this email as a complaint, is a serious and even potentially criminal
allegation. Disclosures such as this carry the potential to unequivocally damage an
individual's reputation in an industry that relies on and is based largely in trust. Mr.
LaFerrera has sought, for over three years, relief from this false and misleading
accusation 12 .

           WHEREFORE, the premise considered, Mr. LaFerrera seeks an order under
the Federal Arbitration Act and U.S. Code Section 9 (9 U.S.C. § 9) confirming the
award issued in FJNRA case 16-00910 and granting expungement of the customer
complaint labeled occurrence # 1868785 from the registration records for Brett
LaFerrera (CRD# 2496912) based on the findings that (a) the claim, allegation or
information is factually impossible and clearly erroneous, (b) Mr. LaFerrera was not
involved in any investment-related sales practice violation. forgery, theft,
misappropriation or conversion of funds and (c) the claim, allegation or information
is false, in compliance with FINRA Rule 2080 13 •

                                            Respectfully submitted January 30, 2019



                                            Brett LaFerrera, prose
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12
     Mr. LaFerrera has attempted to compel FINRA arbitration with Ms. Scurlock however       Ms. Scurlock declined to
arbitrate the issue. Based on FINRA rules, Ms. Scurlock was not obligated to arbitrate the   issue with Mr. LaFerrera
and therefore FINRA declined to hear the request for expungement. Mr. LaFerrera then turned to the civil courts
and filed a complaint in the District Court ofTuscaloosa County, cv-2017-900115 seeking expungement however the
honorable Judge Almond declined to rule on the request citing "improper jurisdiction".
13
     Exhibit 9.

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 I certify that I have sent via certified mail a copy of this petition for confirmation of arbitration

award to the following parties.




VALIC Financial Advisors, Inc.

c/o Corporation Service Company

641 South Lawrence St

Montgomery, Alabama 36104



FINRA Dispute Regulation, Inc.

c/o Corporation Service Company

641 South Lawrence St

Montgomery, Alabama 36104




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                          Exhibit 1
                                                                      .1,.
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                                       Award
                         FINRA Office of Dispute Resolution


In the Matter of the Arbitration Between:

Claimants                                           Case Number: 16-00910
VALIC Financial Advisors, Inc. and The
Variable Life Insurance Company

vs.

Respondents                                          Hearing Site: Birmingham, Alabama
Brett LaFerrera
Jessica LaFerrera

VS.


Third-Party Respondents
Madison Bess
Ashley Wayne Folkes
Gary Lawson Grigsby
Paige Watson Lombardy
Rance Kevin Morgan
Vernon Keith Roberts


Nature of the Dispute: Member and Non-Member vs. Associated Persons vs.
Associated Persons

                            REPRESENTATION OF PARTIES

VALIC Financial Advisors, Inc. ("VFA") and The Variable Life Insurance Company
("VALIC") (hereinafter collectively referred to as "Claimants" or "the VALIC Companies")
were represented by Michael Rollin, Esq., Maritza Dominquez Braswell, Esq. and Kasey
Johnson, Esq., Rollin Braswell Fisher LLP, Greenwood Village, Colorado until April 17,
2018. Thereafter, Claimants were represented by Carole G. Miller, Esq. and Matthew I.
Penfield, Esq., Bressler. Amery & Ross, P.C., Birmingham, Alabama.

Brett LaFerrera and Jessica LaFerrera (hereinafter collectively referred to as
"Respondents" or "the LaFerrera Respondents") were represented by Brian J. Neville,
Esq., Robert Miller, Esq. and David J. Lee, Esq., Lax & Neville LLP, New York, New
York until December 23, 2016. Thereafter. the LaFerrera Respondents appeared pro
se.

 For Madison Bess ("Bess"), Ashley Wayne Folkes ("Folkes"), Gary Lawson Grigsby
 ("Grigsby"), Paige Watson Lombardy ("Lombardy"), Rance Kevin Morgan ("Morgan"),
 and Vernon Keith Roberts ("Roberts") ("the Third-Party Respondents"): Carole G. Miller,
 Esq. and Matthew I. Penfield, Esq., Bressler, Amery & Ross, P.C., Birmingham,
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Alabama. Counsel appeared for the Third-Party Respondents for the limited purpose of
disputing FINRA's jurisdiction over the Third-Party Respondents.

                                     CASE INFORMATION

Statement of Claim filed on or about: March 30, 2016.
The VALIC Companies signed the Submission Agreement: March 30. 2016.

Statement of Answer and Affirmative Defenses ("Statement of Answer") filed by the
LaFerrera Respondents on or about: May 9, 2016.
The LaFerrera Respondents did not file Submission Agreements.

Counterclaims and Third-Party [Claim] ("Counterclaim and Third-Party Claim") filed by
the La Ferrera Respondents on or about: May 24, 2017.

The Third-Party Respondents did not submit Answers or file Submission Agreements.

Statement of Answer and Defenses to Counterclaims ("Answer to Counterclaim") filed
by Claimants on or about: June 14. 2017.

                                      CASE SUMMARY

In their Statement of Claim, Claimants asserted the following causes of action: violation
of Alabama Trade Secret Act, Ala. Code§ 8-27-1 et seq.; violation of the Computer
Fraud and Abuse Act, 18 U.S.C. § 1030; violation of the LaFerrera Respondents'
Registered Representative agreements ("RRAs") through their improper use, disclosure
and retention of the VALIC Companies· client information; violation of the LaFerrera
Respondents' RRAs through their improper solicitation and inducement; breach of the
covenant of good faith and fair dealing; breach of fiduciary duty; tortious interference
with contractual and other business relations; and unjust enrichment. The causes of
action relate to the LaFerrera Respondents' alleged misuse, disclosure and
misappropriation of trade secret and confidential information upon their termination of
employment with the VALIC Companies in mid-December 2015.

 Unless specifically admitted in the Statement of Answer, the LaFerrera Respondents
 denied the allegations made in the Statement of Claim and asserted various affirmative
 defenses.

 In their Counterclaim and Third-Party Claim, the LaFerrera Respondents asserted the
 following causes of action: defamation on Form US (Respondents Brett and Jessica
 LaFerrera against Claimants); defamation on Form U4 (Respondents Brett LaFerrera
 against Claimants); defamation to regulators and FINRA (against Claimants and Third-
 Party Respondents Roberts and Grigsby); defamation per se (against Claimants and
 Third-Party Respondents); tortious business interference (against Claimants and Third-
 Party Respondents); unjust enrichment (against Claimants and Third-Party Respondents
 Lombardy, Folkes and Morgan); unpaid compensation and breach of contract (against
 Claimants); intentional infliction of pain and suffering (against Claimants and Third-Party
 Respondents); and fraud, misrepresentation and deceit pursuant to Ala. Code§ 6-5-101
 (against Third-Party Respondent Bess). The causes of action relate to the VALIC
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Companies' alleged defamation of the La Ferrera Respondents after their employment
relationship ended.

Unless specifically admitted in the Answer to Counterclaim, Claimants denied the
allegations made in the Counterclaim and asserted various affinnative defenses.

                                     RELIEF REQUESTED

In the Statement of Claim, Claimants requested that the Panel issue a permanent
injunction: (i) enjoining the LaFerrera Respondents from directly or indirectly retaining,
disclosing, or using any and all property of the VALIC Companies including the VALIC
Companies' Client Information; (ii) enjoining the LaFerrera Respondents. for one year
after the entry of the injunction, from directly or indirectly inducing or attempting to
induce any Protected Customer to end or alter his relationship with the VALIC
Companies; (iii) requiring the LaFerrera Respondents to (a) return all of the VALIC
Companies' Client Information in their possession, regardless of the form in which it is
stored or maintained, (b) after returning such information, delete any and all copies of
such information, regardless of the form in which it is stored or maintained, and provide
 a certification that they have complied with each of the foregoing and (b)(y) they have
 not disclosed any of the VALIC Companies' Client Information to any third party not a
 Party hereto. In the event the LaFerrera Respondents are unable to provide
 the certification as to part (iii)(b)(y), above, the LaFerrera Respondents shall provide a
 full accounting of all disclosures of the VALIC Companies' Client Information. Such
 accounting will include, at a minimum, the VALIC Companies' Client Information
 disclosed, the recipient(s) of such information, and the date of disclosure: (iv) that the
 VALIC Companies be awarded consequential damages against the LaFerrera
 Respondents related to any economic loss resulting from the LaFerrera Respondents
 conduct; (v) that the LaFerrera Respondents indemnify and hold the VALIC Companies
 harmless against any losses and harm suffered as a result of any breach of the
 LaFerrera Respondents' RRAs; (vi) that the LaFerreras be required to disgorge any
  profits. commissions or other monies earned by it as a result of the La Ferrera
  Respondents' unlawful actions described herein; (vii) that the VALIC Companies be
 awarded exemplary damages from the LaFerrera Respondents; (viii) that the VALIC
  Companies be awarded pre-judgment and post-judgment interest against the LaFerrera
  Respondents on all damages recovered against it; (ix) that the VALIC Companies be
  awarded their costs, including reasonable attorneys' fees, incurred in this action; (x) that
  the VALIC Companies be awarded all available reimbursement for applicable fees and
  surcharges; and (xi) that the VALIC Companies be awarded such other and further relief
  as the Panel deemed just and appropriate under the circumstances.

 In the Statement of Answer, the La Ferrera Respondents requested that the Panel:
 dismiss the VALIC Companies' claims in their entirety; deny the VALIC Companies'
 request for a permanent injunction; and award the La Ferrera Respondents such
 additional and further relief as deemed just and proper.

 In their Counterclaim, the LaFerrera Respondents requested: expungement of
 Respondent Brett LaFerrera's Form U5 in its entirety in regard to the termination from
 Claimant VALIC Financial Advisors. Inc., specifically noting the reason for termination
 as voluntary with no further explanation and the "YES" response to questions 78 and 7F
                                                                       ,I,
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be replaced with "NO"; expungement of Respondent Jessica LaFerrera's Form U5 in its
entirety in regard to the termination from Claimant VALIC Financial Advisors, Inc.,
specifically the reason for termination be changed to "OTHER" and the language to
follow be changed to "SERVICE NO LONGER REQUIRED" and the "YES" responses to
questions 78 and ?F be replaced with "NO"; that the VALIC Companies be enjoined
from defaming the LaFerrera Respondents; that the LaFerrera Respondents be
awarded all commissions rightfully earned from any business submitted up to and
through December 21, 2015, in an amount to be determined; that the LaFerrera
Respondents be awarded lost commissions and future earnings from assets under
management at AIG Annuities in an amount to be determined but not less than
$3,000,000.00; that the LaFerrera Respondents be awarded lost commissions and
future earnings from assets under management at Prudential in an amount to be
determined but not less than $1,000,000.00; that the LaFerrera Respondents be
 awarded loss of future income in an amount to be determined but not less than
 $10,000,000.00; that Respondent Brett LaFerrera be awarded loss of future pension in
 an amount to be determined; that the LaFerrera Respondents be awarded pre-judgment
 interest and post-judgment interest against the VALIC Companies on all damages
 recovered against them; that the LaFerrera Respondents be awarded exemplary
 damages; that the La Ferrera Respondents be awarded costs, including attorneys' fees,
 incurred in this action and subsequent expungement of the falsified written customer
 complaint reported on Respondent Brett LaFerrera's Form U4; and that the LaFerrera
 Respondents be awarded all available reimbursement for applicable fees and
 surcharges.

In their Third-Party Claim, the La Ferrera Respondents requested that judgment be
entered against Third-Party Respondents Lombardy, Folkes and Morgan in their favor
and that the Panel order: that the LaFerreras be awarded consequential damages
against the above-named parties related to economic loss resulting from the Third-Party
Respondents; that Third-Party Respondents Lombardy, Folkes and Morgan be required
to disgorge any profits, commissions or other monies earned as a result of their unlawful
actions; that Third-Party Respondents Lombardy, Folkes and Morgan be sanctioned for
violating FINRA Rules 2010 and 2140; that Third-Party Respondents Lombardy, Folkes
and Morgan be enjoined from defaming the LaFerrera Respondents; and that the
LaFerrera Respondents be awarded exemplary damages from the above-named
parties. In their Third-Party Claim, the LaFerrera Respondents also requested that
judgment be entered against Third-Party Respondent Bess and that the Panel order:
that the LaFerrera Respondents be awarded consequential damages against Third-
 Party Bess related to the economic loss resulting from Third-Party Bess; and that the
 LaFerrera Respondents be awarded exemplary damages from Third-Party Bess. In their
 Third-Party Claim, the La Ferrera Respondents also requested that judgment be entered
 against Third-Party Respondents Roberts and Grigsby and that the Panel order: that the
 LaFerrera Respondents be awarded consequential damages against Third-Party
 Respondents Roberts and Grigsby related to economic loss resulting from Third-Party
 Respondents Roberts and Grigsby; that Third-Party Respondents Roberts and Grigsby
 be sanctioned for violating FINRA Rules 2010 and 2140; that Third-Party Respondents
 Roberts and Grigsby be enjoined from defaming the LaFerrera Respondents; and that
 the LaFerrera Respondents be awarded exemplary damages from Third-Party
 Respondents Roberts and Grigsby.
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In their Answer to Counterclaim, the VALIC Companies did not delineate a specific relief
request.

                      OTHER ISSUES CONSIDERED AND DECIDED

The Arbitrators acknowledge that they have each read the pleadings and other
materials filed by the parties.

The LaFerrera Respondents did not file with FINRA Office of Dispute Resolution a
properly-executed Submission Agreement but are required to submit to arbitration
pursuant to the Code of Arbitration Procedure ("Code") and. having answered the claim
and appearing at the hearing, are bound by the determination of the Panel on all issues
submitted.

On or about May 3, 2016, Claimants filed a Motion for Leave to File a Motion for
Sanctions in which they requested that the Panel grant leave for Claimants to file a
Motion for Sanctions for spoliation of evidence against Respondents prior to the in-
person hearing. The LaFerrera Respondents did not file a written response. The Panel
did not rule on Claimant's Motion for Leave to File a Motion for Sanctions prior to the
hearing. The Panel never ruled on this Motion. and it was deemed moot as a result of
the parties' settlement described below.

The Panel held hearings on May 10-12, 2016, and July 12-14, 2016 on Claimants'
request for permanent injunction. On or about, July 28, 2016, the Panel issued an Order
in which it denied Claimants' request for permanent injunction.

 On or about May 24, 2017. the LaFerrera Respondents filed a Counterclaim and Third-
 Party Claim which added claims against Claimants and the Third-Party Respondents.

 On or about June 14, 2017. the Third-Party Respondents filed a Motion to Oppose
 Addition of Third-Party Respondents in which they argued, among other things, that the
 Panel could not grant a motion to add third parties and claims at this late stage in the
 proceeding without denying the individuals fundamental due process. On or about June
 16, 2017, the LaFerrera Respondents filed an Opposition to Motion to Oppose Addition
 of Third-Party Respondents in which they argued, among other things, that the Third-
 Party Respondents would not be prejudiced because no testimony or allegations had
 been made in relation to them at this stage in the proceeding.

 On or about June 15, 2017, Claimants filed correspondence with FINRA Office of
 Dispute Resolution in which, among other things, they requested that the Panel (1) set a
 hearing for the La Ferrera Respondents' [Motion to Add] Counterclaim and Third-Party
 Claims, and (2) hold Respondents' Counterclaim and Third-Party Claim-together with
 Claimants' Answer-in abeyance until a decision is rendered after the aforementioned
 hearing. On or about June 16. 2017, the LaFerrera Respondents filed correspondence
 in which they requested, among other things, that their Counterclaim be heard in a full
 and fair hearing. On or about June 28, 2017, the LaFerrera Respondents filed a
 Response to Claimants June 15, 2017. correspondence in which they argued that the
 Panel should accept the LaFerrera Respondents' Counterclaim and Third-Party Claim.
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On or about June 30, 2017, the Panel held a telephonic hearing with the parties and
proposed Third-Party Respondents to discuss the status of the pleadings filed by the
LaFerrera Respondents and to consider the responses filed by Claimants and the
proposed Third-Party Respondents. After hearing argument from counsel. the Panel
issued an Order in which it, among other things: (1) dismissed all of the LaFerrera
Respondents claims against the Third-Party Respondents. and (2) dismissed three
counts of the La Ferrera Respondents' Counterclaim against Claimant VALIC.

On or about September 6, 2017, Claimants filed a Renewed Motion for Sanctions and
for Spoliation of Evidence in which they argued, among other things, that the Panel
should sanction the LaFerrera Respondents by dismissing several of their Counterclaim
counts which pertained to a laptop Respondent Brett LaFerrera destroyed with a
sledgehammer and discarded. On or about September 18, 2017, the La Ferrera
Respondents filed an Opposition to Claimants' Renewed Motion for Sanctions in which
they argued, among other things, that Claimants failed lo meet the legal standard in
 support of their spoliation allegations. On or about September 22, 2018, Claimants filed
 a Reply in Support of Their Renewed Motion for Sanctions and Spoliation of Evidence in
which they argued, among other things, that due to the willful and complete destruction
 of the laptop, dismissal of the La Ferrera Respondents' Counterclaim and an adverse
 inference on Claimants' affirmative claims were appropriate. After hearing oral argument
 from the parties, the Panel issued an Order dated October 5, 2017, in which it (1)
 denied Claimants' request to dismiss four counts of the LaFerrera Respondents'
 Counterclaim, (2) granted Claimants' request that the Panel draw adverse inferences
 against the LaFerrera Respondents for the destruction and discarding of the laptop, and
 (3) indicated that the Panel would infer without further proof at the hearing on damages
 that the destroyed laptop contained: (a) confidential client information and trade secrets
 belonging to Claimants and (b) a business plan that the LaFerrera Respondents
  prepared for a non-party brokerage firm that contained confidential client information
 and trade secrets belonging to Claimants.

 On or about December 4, 2017. the La Ferrera Respondents filed a Motion to Compel in
 which, among other things, they indicated that Claimants had a "blatant disregard for
 privileged communications" in the materials Claimants had produced in their latest
 production. On or about December 6, 2017, Claimants filed a Response to the Motion to
 Compel [and Cross-Motion for Sanctions] in which they argued that the LaFerrera
 Respondents should be sanctioned for bringing a frivolous motion. On or about
 December 11, 2017, the LaFerrera Respondents filed a Reply in Support of their Motion
 to Compel in which they requested, among other things, that the Panel sanction
 Claimants from utilizing any evidence at hearing that has been requested and not
 produced in violation of FINRA Rules. On or about December 18, 2017, the Panel
 issued an Order in which it (1) denied the La Ferrera Respondents' Motion to Compel
 and (2) denied Claimants' Cross-Motion for Sanctions.

 On or about December 18, 2017, the La Ferrera Respondents filed a Motion for
 Sanctions for Spoliation of Evidence in which they argued, among other things, that
 Claimants failed to preserve a USB drive for forensic testing and review. On or about
 December 28, 2018, Claimants filed a Response to Respondents' Motion for Sanctions
 for Spoliation of Evidence in which they argued. among other things, that the USB drive
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in question was never in Claimants' possession or control. The Motion was rendered
moot by the parties' settlement and stipulation detailed below.

On or about January 3, 2018, the original Chairperson in this matter withdrew. On or
about January 10, 2018, at the request of the parties, FINRA Office of Dispute
Resolution staff contacted the remaining Panelists to see if either would object to being
appointed Chairperson in light of the original Chairperson's withdrawal. On or about
January 1, 2018, the parties agreed to have Arbitrator Gregory serve as Chairperson for
the duration of the case.

On or about September 25, 2018, the LaFerrera Respondents filed a Motion for
Discovery Sanctions in which they argued, among other things, that Claimants have a
history of withholding critical evidence and should be sanctioned. On or about October
5, 2018, Claimants filed a Response to Respondents' Motion for Discovery Sanctions
and Cross-Motion for Discovery Sanctions in which they argued, among other things,
that Claimants had produced all responsive documents and that the LaFerrera
Respondents should be sanctioned for failing to produce documents in accordance with
the Panel's prior orders. On or about October 10, 2018, the La Ferrera Respondents
filed a Reply in Support of Discovery Sanctions and Opposition to Claimants' Cross-
Motion for Discovery Sanctions in which they argued, among other things, that
Claimants' use of altered evidence had been part of their litigation strategy to paint a
false narrative. As explained below. the Panel never ruled on this Motion and it was
rendered moot as a result of the parties' settlement.

On or about October 24, 2018, the parties notified FINRA that the case had settled.
Therefore, the Panel made no determinations with respect to any of the relief requested in
the Statement of Claim or Counterclaim, except for the expungement relief requested by
the LaFerrera Respondents as detailed below.

On or about October 24, 2018, the parties submitted a Stipulation Regarding Hearing of
Expungement Claim in which the parties agreed to the following, among other things:
(1) the VALIC Companies and the LaFerrera Respondents withdrew their respective
pending Motions for Discovery Sanctions and (2) an expungement hearing would be
held and be limited to expungement of disclosure information on the LaFerrera
Respondents' Form US.

 The Panel conducted an in-person hearing on November 27, 2018, so the parties could
 present oral argument on the issues the parties stipulated to in their October 24, 2018,
 correspondence. The November 27. 2018, hearing sessions were inadvertently not
 recorded.

 The Panel noted that the LaFerrera Respondents did not previously file a claim
 requesting expungement of the same disclosures in the CRD.

 The parties present at the hearing have agreed that the Award in th'1s matter may be
 executed in counterpart copies or that a handwritten, signed Award may be entered.
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                                         AWARD

After considering the pleadings, the testimony and evidence presented at the recorded,
in-person hearing, and the post-hearing submissions (if any), the Panel has decided in
full and final resolution of the issues submitted for determination as follows:

Brett LaFerrera

        The Panel recommends the expungement of the "Yes" answer to Question 7F(1)
        on the Form US filed by VALIC Financial Advisors, Inc. on November 26, 2018,
        from the registration records for Respondent Brett LaFerrera (CRD# 2496912)
        maintained by the CRD. The Panel recommends that the answer be changed to
        "No" and the accompanying Termination Disclosure Reporting page be deleted in
        its entirety. These recommendations shall apply to all previous and subsequent
        disclosures concerning this event, including but not limited to, the Form U4 filed
        on January 25, 2016 by MSI Financial Services.

        In addition, the Panel recommends that the Termination Explanation on the Form
        US filed on January 4, 2016 by VALIC Financial Advisors, Inc. be expunged and
        appear blank. The reason for amending the termination explanation shall be
        expunged and appear blank.

        The Panel further recommends the expungement of the "Yes" answer to question
        78 on the Form US filed by VALIC Financial Advisors. Inc. on November 26,
        2018 be expunged and that the answer be changed to "No" and the Disclosure
        Reporting Page be deleted in its entirety.

        The above recommendations are based on the defamatory nature of the
        information. The registration records are not automatically amended to include
        the changes indicated above. Respondent Brett La Ferrera must forward a copy
        of this Award to FINRA's Registration and Disclosure Department for review.

 Jessica LaFerrera

         The Panel recommends the expungement of the "Yes" answer to Question 7F(1)
         on the Form US filed by VALIC Financial Advisors, Inc. on November 26, 2018,
         from the registration records for Respondent Jessica LaFerrera (CRD# 5612540)
         maintained by the CRD. The Panel recommends that the answer be changed to
         "No" and the accompanying Termination Disclosure Reporting page be deleted in
         its entirety. These recommendations shall apply to all previous and subsequent
         disclosures concerning this event, including but not limited to, the Form U4 filed
         on January 25, 2016 by MSI Financial Services.

         In addition, the Panel recommends that the current Reason for Termination on
         the foregoing Form U5 be expunged and changed to "Voluntary" and the
         Termination Explanation be changed to: "Services no longer required."

         The Panel further recommends the expungement of the "Yes" answer to question
         78 on the Form U5 filed by VALIC Financial Advisors. Inc. on April 15, 2016. The
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        Panel recommends that the answer be changed to "No" and the disclosure
        reporting page be deleted in its entirety. These recommendations shall apply to
        all previous and subsequent disclosures concerning this event.

        The above recommendations are based on the defamatory nature of the
        information. The registration records are not automatically amended to include
        the changes indicated above. Respondent Jessica LaFerrera must forward a
        copy of this Award to FINRA's Registration and Disclosure Department for
        review.

The Panel provided the following explanation:

The expungement recommendations are based on the defamatory nature of the
information in the CRD but are not findings that the LaFerrera Respondents have
established a claim for defamation under governing law. The Panel finds that VALIC
Financial Advisors, Inc. committed no wrongdoing with regard to the terminations of the
LaFerrera Respondents and its obligations to file Form U5s.



Pursuant to the Code, the following fees are assessed:

Filing Fees
FINRA Office of Dispute Resolution assessed a filing fee* for each claim:

           Initial Claim Filing Fee                                           =$ 1,700.00
           Counterclaim Filing Fee                                            =$ 2,250.00

 *The filing fee is made up of a non-refundable and a refundable portion.

 Member Fees
 Member fees are assessed to each member firm that is a party in these proceedings or
 to the member firm(s) that employed the associated person(s) at the time of the event(s)
 giving rise to the dispute. Accordingly, as a party, VALIC Financial Advisors. Inc. is
 assessed the following:

            Member Surcharge                                                 =$ 1,900.00
            Member Process Fee                                               =$ 7,000.00

 Postponement Fees
 Postponements granted during these proceedings for which fees were assessed or
 waived:

 April 13, 2016, postponement by Claimants                                    =$ 1,500.00
 June 1 - June 3, 2016, postponement by Respondents                           =$ 1,500.00
 September 26-28. 2017. postponement by Claimants                             =$ 1.500.00
 Total Postponement Fees                                                      =$ 4,500.00

 The Panel has assessed $1,500.00 jointly and severally to Claimants.
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The Panel has assessed $3,000.00 of the adjournment fees jointly and severally to
Respondents.

Injunctive Relief Fees
Injunctive relief fees are assessed to each member or associated person who files for a
temporary injunction in court. Parties in these cases are also assessed arbitrator travel
expenses and costs when an arbitrator is required to travel outside his or her hearing
location and additional arbitrator honoraria for the hearing for permanent injunction.
These fees, except the injunctive relief surcharge, are assessed equally against each
party unless otherwise directed by the Panel.

     Claimant VFA is assessed~
     Injunctive relief surcharge                                            =$2,500.00

     Claimants VFA and Valic are jointly and severally assessed:
     Arbitrator travel expenses and costs                                   =$1,544.22

     Respondents are jointly and severally assessed:
     Arbitrator travel expenses and costs                                   =$1,544.22

Hearing Session Fees and Assessments
The Panel has assessed hearing session fees for each session conducted. A session is
any meeting between the parties and the arbitrator(s), including a pre-hearing
conference with the arbitrator(s), that lasts four (4) hours or less. Fees associated with
these proceedings are:

One (1) pre-hearing session with a single arbitrator@ $450.00/session       =$     450.00
Pre-hearing conference: May 5, 2016                   1 session

 Eight (8) pre-hearing sessions with the Panel @ $1.500 .OD/session         =$ 12 ,000 .00
 Pre-hearing conferences: April 15, 2016              1 session
                             May 27, 2016             1 session
                             May 24, 2017             1 session
                             June 30. 2017            1 session
                             September 7, 2017        1 session
                             September 27, 2017       1 session
                             January 29, 2018         1 session
                             May 7, 2018              1 session

 Twenty-six (26) hearing sessions@ $1,500.00/session                         =$39,000.00
 Hearing Dates:            May 10, 2016             2 sessions
                           May 11, 2016             3 sessions
                           May 12, 2016             2 sessions
                           July 12, 2016            3 sessions
                           July 13, 2016            3 sessions
                           July 14, 2016            2 sessions
                           February 12. 2018        2 sessions
                            February 13, 2018       3 sessions
                            February 14, 2018       2 sessions
                                                                       ,Ii.

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                               February 15, 2018     2 sessions
                               February 16, 2018     2 sessions

Two (2) hearing sessions on expungement request@ $1,500.00/session =$ 3,000.00
Hearing Date:             November 27. 2018      2 sessions

Total Hearing Session Fees                                                    =$54,450.00

The Panel has assessed $26,475.00 of the hearing session fees jointly and severally to
Claimants.

The Panel has assessed $27,975.00 of the hearing session fees jointly and severally to
Respondents.

All balances are payable to FINRA Office of Dispute Resolution and are due upon
receipt.
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                                     ARBITRATION PANEL

      Steven P. Gregory                                    Non-Public Arbitrator. F residing
                                                           Chairperson
      Roslyn Barbee                                        Public Arbitrator
      Cynthianther May                                     Public Arbitrator

!, the undersigned Arbitrator. do hereby affirm that i am the 1ndividuai desc ·ibed herein
and who executed this instrument which is my award

coocurrina Arbitrators' Signatures




                                                                       ~;[;,$//
   oslyn Barbee                                                       Signature Date
· Public Arbitrator
                                          /~
                                      .        I   (
                                          .· /(/(7.,.,./
   Cyn ,anther May                                 _/ ,
   Public Arbitrator




           January 10, 2019


  Date of Service (For FINRA Office of Dispute Resolution office use only)
                                                    ,11,
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                          Exhibit 2
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 H iron Stiell

 From:
 Sent:
                                    David Bertanzetti «•••••••••
                                    Thursday, January 28, 2016 12:06 PM
 To:                                Hiron Stiell
 Cc:                                Sandra Abrams
 Subject:                           Re: URGENT: Let's discuss



 Don't do anything with this yet. I called Jon Garner and he is seeking guidance from legal.

 Sent from my iPhone


 On Jan 28, 2016, at 9:56 AM, Hiron Stiel!   <.I•••••••••••••••>                           wrote:

 Please review my response below and let's discuss it before I reply to this employee.

 Jan,

 I am sorry to hear that you have these concerns, but I will share your concerns with my superiors.

You are a participant in the VALIC 403(b) plan. When money is payroll deducted from your check, that money is sent
directly from the University to VALIC, not to any individual broker or representative. Your money is also not being sent
to any other company. So no, I don't believe that you should have concerns that your money was going to Brett's private
company. Your contributions have now been changed to go to TIAA-CREF where you already have an established
account from your participation before.

We have to be careful not to speculate on the particulars of the investigation because it is still ongoing and we do not
know the details. There is no indication at this time that any money has been stolen. If the University is notified of ANY
improprieties associated with your UA 403(b) account you will notified promptly. VALIC sent out a letter to all University
participants to notify us that Brett was no longer a representative of the company. The letter also provided contact
information for local representatives who are available to meet with employees.

Any certified financial advisor can be hired as a representative of a financial firm such as VALIC, or they have the option
of operating independently and being licensed to sell a number of other products, Although it could be considered a
conflict of interest, I imagine that there may be some advisors that hold both of these roles such as Brett did. The
information you located on FINRA is public information and I am sure that the results of the investigation will also be
duly noted on the site when it is completed.

Your participation in the University of Alabama 403(b) program with VALIC as the vendor is separate from any other
financial or life insurance products that may have been offered or sold by Brett or Jessica LaFarerra. If you did meet with
these representatives to discuss other investments or products outside of your VALIC 403(b) accounts you may want to
review your records. If you have any documents that have contact information listed on them, you should contact those
companies to make sure that you are aware of any programs that you are enrolled in or any products that you have
purchased. You may also contact VALIC directly at                  nd a member oftheir staff can assist you with
questions that you may have. We also have individual counseling sessions on campus with a member of the VALIC team.
You can call                 to schedule those appointments.

Please continue to raise your questions. We want to be sure that we can assist you in getting answers to your questions.

Hiron

                                                             1                                        BAL 17-02145000253
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 Hiron D. Stiel!
 Benefits Specialist
 The University of Alabama
 Human Resources Department

 Phone:11111111111
 Fax:




From: Scurlock, Jan[• • • • • • • • • •
Sent: Thursday, January 28, 2016 8:42 AM
To: Hiron Stiel!
Subject: Jan has question

 Morning Hiron,

Please call me when you have time. I have a questions about our former Valic representative and his claim ofValic's so
called special advisors (that looks like now was really him). Did deduction from my pay go to Valic and he somehow set
it up to go to be diverted from them to one of his companies? Or was the deduction from my pay going some to Valic
and then some to his company? If some of the deduction was going straight to one of his companies does this need to
be stopped separately or will my changing from Va lie to TIAA stop money going Valic and him?

Sounds to me with the Valic investigation that the money he was taking was not going to them to better manage my
account and they had no special advisory group. This this money should have been going into my retirement account -
not his pocket.

How many on campus did he talk into this and having us think this was Valic program? Is Valic going to own contact
those that were? The document I found says he is under investigation but I don't think they want this to go public. Bad
for business. Sounds like fraud on his part and Valic missed it. Should UA attorneys be made aware of this before
everyone on campus finds out they have been taken advantage of? Especially since UA brought him and Valic to us.
I want my money back and into my retirement account where it should be. My cell is -

Ugh! Sorry to start your day off with this mess!

Jan

Jan Scurlock




                                                           2                                      BAL 17-02145000254
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                          Exhibit 3
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VALIC FINANCIAL ADVISORS, INC.(42803)                                                Rev. Form US (05/2009)

Individual Name: LAFERRERA, BRETT ANDREW (2496912)                       US Amendment - Filing ID: 50356163

                                                                                        Filing Date: 11/26/2018


                  NOTICE TO THE INDIVIDUAL WHO IS THE SUBJECT OF THIS FILING
Even if you are no longer registered you continue to be subject to the jurisdiction of regulators for at least two
years after your registration is terminated and may have to provide information about your activities while
associated with this firm. Therefore, you must forward any residential address changes for two years following
your termination date or last Form US amendment to: CRD Address Changes, P.O. Box 9495, Gaithersburg,
MD 20898-9495.

                                            1. General Information
 First Name:                Middle Name:                       Last Name:                Suffix:
 BRETI                      ANDREW                             LAFERRERA
 Firm CRD #:                Firm Name:                         Firm NFA #:
 42803                      VALIC FINANCIAL ADVISORS,
                            INC.
 Individual CRD #:          Individual SSN:                    Individual NFA #:         Firm Billing Code:
 2496912                    xxx-xx-xxxx                                                   04-1009


 Office of Employment Address:
 CRD       NYSE      Firm      Address                            Private     Type of Start Date End Date
 Branch Branch       Billing                                      Residence Office
 #         Code#     Code
  128021             04-       3535 GRANDVIEW PARKWAY             No          Located    03/08/2010 12/16/2015
                     1009      SUITE 200                                      At
                               BIRMINGHAM, AL 35243
                               United States
 473983              04-       535 JACK WARNER PARKWAY            No          Located    05/16/2011 12/16/2015
                     1009      SUITE L1                                       At
                               TUSCALOOSA,AL35404
                               United States
  505587             04-       733 TUSCALOOSA AVE SW              No          Located 05/22/2012 11/04/2015
                     1009      BIRMINGHAM, AL 35211                           At
                               United States



                                         2. Current Residential Address


From           To              Street Address
07/2016        PRESENT         1312 12th Street East
                               Tuscaloosa, AL 35404
                               United States


                                                   3. Full Termination

 Is this a FULL TERMINATION? r, Yes            r    No
 Note: A "Yes" response will terminate ALL registrations with all SROs and alljurisdict1ons.
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Reason for Termination: Voluntary

Termination Explanation:
If the Reason for Termination entered above is Permitted to Resign, Discharged or Other, provide an
explanation below:

If amending the Reason for Termination and/or termination explanation, provide an explanation below:
Amended to remove 'termination explanation' language not required to be included due to Reason for
Termination being 'voluntary,' and not 'permitted to resign, discharged, or other



                                           4. Date of Termination
Date Terminated {MM/DD/YYYY): 12/16/2015

A complete date of termination is required for full termination. This date represents the date the firm
terminated the individual's association with the firm in a capacity for which registration is required.

For partial termination, the date of termination is only applicable to post-dated termination requests during
the renewal period.

Notes: For full termination, this date is used by jurisdictions/SROs to determine whether an individual is
required to requalify by examination or obtain an appropriate waiver upon reassociating with another      nrm.

The SRO/jurisdiction determines the effective date of termination of registration.

If amending the Date of Termination, provide an explanation below:



                                           7. Disclosure Questions
IF THE ANSWER TO ANY OF THE FOLLOWING QUESTIONS IN SECTION 7 IS 'YES', COMPLETE
DETAILS OF ALL EVENTS OR PROCEEDINGS ON APPROPRIATE DRP(S). IF THI: INFORMATION IN
SECTION 7 HAS ALREADY BEEN REPORTED ON FORM U4 OR FORM US, DO NOT RESUBMIT DRPs
FOR THESE ITEMS. REFER TO THE EXPLANATION OF TERMS SECTION OF FORNI US
INSTRUCTIONS FOR EXPLANATION OF ITALICIZED WORDS.


Disclosure Certification Checkbox (optional):        r
By selecting the Disclosure Certification Checkbox, the firm certifies that (1) there is no additional
information to be reported at this time; (2) details relating to Questions 7A, 7C, 7D and 7E have been
previously reported on behalf of the individual via Form U4 and/or amendments to Form U4 (if applicable);
and (3) updated information will be provided, if needed, as it becomes available to the firm. Note: Use of
"Disclosure Certification Checkbox" is optional


                                          Investigation Disclosure
                                                                                                          Yes No
7A. Currently is, or at termination was, the individual the subject of an investigation or proceeding     r      r.
     by a domestic or foreign governmental body or self-regulatory organization with jurisdiction
     over investment-related businesses? (Note: Provide details of an investigation on an
     Investigation Disclosure Reporting Page and details regarding a proceeding on a Regulatory
     Action Disclosure Reporting Page.)
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                                        Internal Review Disclosure
                                                                                                       Yes No
78. Currently is, or at termination was, the individual under internal review for fraud or wrongful    r. r
    taking of property, or violating investment-related statutes, regulations, rules or industry
    standards of conduct?


                                               Criminal Disclosure
                                                                                                       Yes No
7C. While employed by or associated with your firm, or in connection with events that occurred
    while the individual was employed by or associated with your firm, was the individual:
     1. convicted of or did the individual plead guilty or nolo contendere ("no contest") in a         r   r.
        domestic, foreign or military court to any fe!ony7
     2. charged with any fe!ony7                                                                       r   r.
     3. convicted of or did the individual plead guilty or nolo contendere ("no contest") in a         r   r.
        domestic, foreign or military court to a misdemeanor involving: investments or an
        investment-related business, or any fraud, false statements or omissions, wrongful taking
        of property, bribery, perjury, forgery, counterfeiting, extortion, or a conspiracy to commit
        any of these offenses?
     4. charged with a misdemeanor specified in 7(C)(3)7                                               r   r.
                                       Regulatory Action Disclosure
                                                                                                       Yes No
70. While employed by or associated with your firm, or in connection with events that occurred         r   r.
     while the individual was employed by or associated with your firm, was the individual involved
     in any disciplinary action by a domestic or foreign governmental body or self-regulatory
     organization (other than those designated as a "minor rule violation" under a plan approved
     by the U.S. Securities and Exchange Commission) with jurisdiction over the investment-
     related businesses?


                      Customer Complaint/ Arbitration/Civil Litigation Disclosure
                                                                                                       Yes No
7E. 1. In connection with events that occurred while the individual was employed by or associated
       with your firm, was the individual named as a respondent/defendant in an investment-
       re!ated, consumer-initiated arbitration or civil litigation which alleged that the individual
       was involved in one or more sales practice violations and which:
        (a) is still pending, or;                                                                      r   r.
        (b) resulted in an arbitration award or civil judgment against the individual, regardless of   r   r.
             amount, or;
        (c) was settled, prior to 05/18/2009, for an amount of $10,000 or more, or;                    r   r.
        (d) was settled, on or alter 05/18/2009, for an amount of $15,000 or more7                     r   r.
     2. In connection with events that occurred while the individual was employed by or associated
        with your firm, was the individual the subject of an investment-related, consumer-initiated
        (written or oral) complaint, which alleged that the individual was involved in one or more
        sales practice violations, and which
        (a) was settled, prior to 05/18/2009, for an amount of $10,000 or more, or;                    r   r.
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       (b} was settled, on or after 05/18/2009, for an amount of $15,000 or more?                       r    r.
    3. In connection with events that occurred while the individual was employed by or associated
       with your firm, was the individual the subject of an investment-related, consumer-initiated,
       written complaint, not otherwise reported under questions 7(E)(2) above, which:
       (a} would be reportable under question 141(3)(a) on Form U4, if the individual were still        r    r.
            employed by your firm, but which has not previously been reported on the individual's
            Form U4 by your firm; or
       (b} would be reportable under question 141(3)(b) on Form U4, if the individual were still        r.   r
            employed by your firm, but which has not previously been reported on the individual's
            Form U4 by your firm.


    Answer questions (4) and (S} below only for arbitration claims or civil litigation filed on or
    after 05/18/2009


    4. In connection with events that occurred while the individual was employed by or associated
       with your firm, was the individual the subject of an investment-related, consumer-initiated,
       arbitration claim or civil litigation which alleged that the individual was involved in one or
       more sales practice violations, and which:
       (a} was settled for an amount of $15,000 or more, or;                                            r    r.
       (b} resulted in an arbitration award of civil judgment against any named respondent              r    r.
            (s)/defendant(s), regardless of amount?
    5. In connection with events that occurred while the individual was employed by or associated
       with your firm, was the individual the subject of an investment-related, consumer-initiated,
       arbitration claim or civil litigation not otherwise reported under question 7E(4) above,
       which:
       (a} would be reportable under question 141(5)(a) on Form U4, if the individual were still        r    r.
            employed by your firm, but which has not previously been reported on the individual's
            Form U4 by your firm; or
       (b} would be reportable under question 141(5)(b) on Form U4, if the individual were still        r    r.
            employed by your firm, but which has not previously been reported on the individual's
            Form U4 by your firm.


                                          Termination Disclosure
                                                                                                        Yes No
7F. Did the individual voluntarily resign from your firm, or was the individual discharged or
    permitted to resign from your firm, after allegations were made that accused the individual of:
    1. violating investment-related statutes, regulations, rules or industry standards of conduct?      r.   c
    2, fraud or the wrongful taking of property?                                                        r    r.
    3. failure to supervise in connection with investment-related statutes, regulations, rules or       r    r.
        industry standards of conduct?


                                                8. Signature
Please Read Carefully
All signatures required on this Form US filing must be made in this section.
A "Signature" includes a manual signature or an electronically transmitted equivalent. For purposes of an
electronic form filing, a signature is effected by typing a name in the designated signature field. By typing a
           Case 7:19-cv-00172-LSC Document 1 Filed 01/31/19 Page 31 of 52




name in this field, the signatory acknowledges and represents that the entry constitutes in every way, use,
or aspect, his or her legally binding signature.
SA. FIRM ACKNOWLEDGMENT
     This section must be completed on all US form filings submitted by the firm.
SB. INDIVIDUAL ACKNOWLEDGMENT AND CONSENT
     This section must be completed on amendment US form filings where the individual is submitting
     changes to Part II of the INTERNAL REVIEW DRP or changes to Section 2 (CURRENT RESIDENTIAL
     ADDRESS).

                                       SA, FIRM ACKNOWLEDGMENT

I VERIFY THE ACCURACY AND COMPLETENESS OF THE INFORMATION CONTAINED IN AND WITH THIS
FORM.

Person to contact for further information                  Telephone # of person to contact
Daniel Legaye                                              713-342-7820

Signature of Appropriate Signatory                         Date (MM/DD/YYYY)
Keith Roberts                                              11/19/2018
Signature----------------

                          SB. INDIVIDUAL ACKNOWLEDGMENT AND CONSENT
I VERIFY THE ACCURACY AND COMPLETENESS OF THE INFORMATION CONTAINED IN SECTION 2
(CURRENT RESIDENTIAL ADDRESS) AND/OR IN PART II OF THE INTERNAL REVIEW DRP.

Individual Signature                                       Date (MM/DD/YYYY)


Signature----------------



                                                   Criminal DRP



                                                No Information Filed


                                            Customer Complaint DRP


This Disclosure Reporting Page is an r INITIAL or         '°   AMENDED response to report details for
affirmative response(s) to Question 14I on Form U4
Check the question(s) you are responding to, regardless of whether you are answering the
question(s) "yes" or amending the answer(s) to "no":
                            Customer Complaint/ Arbitration/Civil Litigation                   Rev. DRP (05/2009)

     r   7E(l)(a)           r   7E(2)(a)            r   7E(3)(a)           r   7E(4)(a)        r   7E(5)(a)
     r   7E(l)(b)           r   7E(2)(b)            J7 7E(3)(b)            r   7E(4)(b)        r   7E(5)(b)
     r   7E(l)(c)
     r   7E(1)(d)
                                           Click here to view question text
             Case 7:19-cv-00172-LSC Document 1 Filed 01/31/19 Page 32 of 52




One matter may result in more than one affirmative answer to the above items. Use a single DRP to report
details relating to a particular matter (i.e., a customer complaint/arbitration/CFTC reparation/civil litigation).
Use a separate DRP for each matter.


DRP Instructions:

     • Complete items 1-6 for all matters (i.e., customer complaints, arbitrations/CFTC reparations and
       civil litigation in which a customer alleges that the individual was involved in sales practice violations
       and the individual is not named as a party, as well as arbitrations/CFTC reparations and civil
       litigation in which the individual~ named as a party).
     • If the matter involves a customer complaint, or an arbitration/CFTC reparation or civil litigation in
       which a customer alleges that the individual was salesinvolved in sales practice violations and the
       individual is not named as a party, complete items 7-11 as appropriate.
     • If a customer complaint has evolved into an arbitration/CFTC reparation or civil litigation, amend the
       existing DRP by completing items 9 and 10.
     • If the matter involves an arbitration/CFTC reparation in which the individual is a named party,
       complete items 12-16, as appropriate.
     • If the matter involves a civil litigation in which the individual is a named party, complete items 17-
       23.
     • Item 24 is an optional field and applies to all event types (i.e., customer complaint, arbitration/CFTC
       reparation, civil litigation).

Complete items 1-6 for all matters (i.e., customer complaints, arbitrations/CFTC reparations, civil litigation).
1. Customer Name(s):
    Jan Scurlock
2. A. Customer(s) State of Residence (select "not on list" when the customer's residence is a foreign
    address):
    Alabama
    B. Other state(s) of residence/detail:


 3. Employing Firm when activities occurred which led to the customer complaint, arbitration, CFTC
    reparation or civil litigation:
    VFA Financial Advisors, Inc.
 4. Allegation(s) and a brief summary of events related to the allegation(s) including dates when activities
    leading to the allegation(s) occurred:
    Customer alleged Rep may have diverted funds meant to be deposited into her retirement account to
    one of his companies.
 5. Product Type(s): (select all that apply)


        r    No Product                      r   Derivative                   17   Mutual F1md
        r    Annuity-Charitable              r   Direct Investment-OPP & LP   r    Oil & Gas
                                             Interests
        r    Annuity-Fixed                   r   Equipment Leasing            r    Options
        r    Annuity-Variable                r Equity Listed (Common &        r    Penny Stxk
                                             Preferred Stock)
        r    Banking Products (other than    r Equity-OTC                     r    Prime Bank Instrument
        CDs)
        r    CD                              r   Futures Commodity            r    Promissc ·y Note
        r    Commodity Option                r   Futures-Financial            r    Real Estc,te Security
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            r   Debt-Asset Backed                r     Index Option              r Security futures
            r   Debt-Corporate                   r     Insurance                 r   Unit Inve:,tment Trust
            r   Debt-Government                  r Investment Contract           r   Viatical S, ·ttlement
            r Debt-Municipal                     r Money Market Fund             r   Other:

6. Alleged Compensatory Damage Amount:
      $ 0.00

      r   Exact '" Explanation (If no damage amount is alleged, the complaint must be reported unless the
      firm has made a good faith determination that the damages from the alleged conduct would be less
      than $5,000):
      Alleged damages are currently unknown.
If the matter involves a customer complaint, arbitration/CFTC reparation or civil litigation in which a
customer alleges that the individual was involved in sales practice violations and the individual is not named
as a party, complete items 7-11 as appropriate.


Note: Report in Items 12-16, or 17-23, as appropriate, only arbitrations/CFTC reparations or civil litigation
in which the individual§ named as a party.
7.    A. Is this an oral complaint?

       r    Yes   '°   No
      B. Is this a written complaint?

       '°   Yes   r    No
      C. Is this an arbitration/CFTC reparation or civil litigation?

       r    Yes '" No
          If yes, provide:
          i. Arbitration/reparation forum or court name and location:


          ii. Docket/Case#:


          iii. Filing date of arbitration/CFTC reparation or civil litigation (MM/DD/YYYY):
      D. Date received by/served on firm (MM/DD/YYYY):

      01/28/2016 '" Exact            r   Explanation
      If not exact, provide explanation:


8. Is the complaint, arbitration/CFTC reparation or civil litigation pending?

      r     Yes   '°   No
      If "No", complete item 9.
 9. If the complaint, arbitration/CFTC reparation or civil litigation is not pending, provide status:
      f7 Closed/No          Action            r Withdrawn                   r   Denied                        rSettled
      r     Arbitration Award/Monetary Judgment (for claimants/plaintiffs)
      r     Arbitration Award/Monetary Judgment (for respondents/defendants)
      r     Evolved into Arbitration/CFTC reparation (you are a named party)
      r     Evolved into Civil litigation (you are a named party)
If status is arbitration/CFTC reparation in which the individual is not a named party, provide details in item
7C.
                                                                                                11,.

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If status is arbitration/CFTC reparation in which the individual is a named party, complete items 12-16.
If status is civil litigation in which the individual is a named party, complete items 17-23.
10. Status Date (MM/DD/YYYY):

    03/07/2016 " Exact r Explanation
    If not exact, provide explanation:


11. Settlement/ Award/Monetary Judgment:
     A. Settlement/Award/Monetary Judgment amount:
     $
     B. Individual Contribution Amount:
     $
If the matter involves arbitration or CFTC reparation in which the individual is a named respondent,
complete items 12-16, as appropriate.
12. A. Arbitration/CFTC reparation claim filed with (FINRA, AAA, CFTC, etc.):


     B. Docket/Case#:
    C. Date notice/process was served (MM/DD/YYYY):

    r        Exact   r   Explanation
    If not exact, provide explanation:


 13. Is arbitration/ CFTC reparation pending?

     r       Yes     r   No


If "No", complete item 14.
 14. If the arbitration/CFTC reparation is not pending, what was the disposition?
     I       Award to Applicant                          I    Award to Customer   I   Denied               r
                                                                                                            Dismissed
      (Agent/Representative)
     r       Judgment (other than monetary)              I     No Action          I   Settled              r
                                                                                                            Withdrawn
     I       Other:
 15. Disposition Date (MM/DD/YYYY):

     (" Exact (" Explanation
     If not exact, provide explanation:


 16. Monetary Compensation Details (award, settlement, reparation amount):
     A. Total Amount:
     $
     B. Individual Contribution Amount:
     $
If the matter involves a civil litigation in which the individual is a defendant, complete items 17-23.
 17. Court in which case was filed:

         r    Federal Court        r   State Court   r       Foreign Court   r    Military Court       r   Other:
     A. Name of Court:


     B. Location of Court (City or County and State or Country):
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    C. Docket/Case#:


18. Date notice/process was served (MM/DD/YYYY):

     r   Exact     r    Explanation
    If not exact, provide explanation:


19. Is the civil litigation pending?

     r   Yes   r       No


If "No", complete item 20.
20. If the civil litigation is not pending, what was the disposition?
     r   Denied                               r     Dismissed                    r   Judgment (other than
                                                                                 monetary)
     r   Monetary Judgment to Applicant (Agent/Representative)                   r   Monetary Judgment to
                                                                                 Customer
     r No Action                              r Settled                          r Withdrawci
     r   Other:
21. Disposition Date (MM/DD/YYYY):

     r   Exact     r    Explanation
    If not exact, provide explanation:


22. Monetary Compensation Details (judgment, restitution, settlement amount):
     A. Total Amount:
     $
     B. Individual Contribution Amount:
     $
23. If action is currently on appeal:
     A. Enter date appeal filed (MM/DD/YYYY):

     r   Exact     r    Explanation
     If not exact, provide explanation:


     B. Court appeal filed in:

     r   Federal Court           r    State Court        r   Foreign Court   r   Military Court    r   Other:
     i. Name of Court:


     ii. Location of Court (City or County and State or Country):


     iii. Docket/Case#:


 24. Comment (Optional). You may use this field to provide a brief summary of the circumstances leading
     to the customer complaint, arbitration/CFTC reparation and/or civil litigation as well as the current
     status or final disposition(s). Your information must fit within the space provided.

                                                    Internal Review DRP
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Check the question{s) you are responding to, regardless of whether you are answering the
question(s) "yes" or amending the answer{s) to "no":
                                                    Internal Review                           Rev. DRP (05/2009)

                                                          17 78
                                             Click here to vtew question text
If the individual has been notified that the internal review has been concluded without formal action,
complete items 4 and 5 of this DRP to update.
PART I
1. Notice Received From (Name of firm initiating the internal review):
   VALIC FINANCIAL ADVISORS, INC.
2. Date internal review initiated (MM/DD/YYYY):
   11/13/2015        r.   Exact   (" Explanation
   If not exact, provide explanation:
3. Describe briefly the nature of the internal review. (The information must fit within the space provided):
   Associated with the Privacy Issue where possible HR issues within the office and the ongoing issues
   associated with Supervision.
4. Is internal review pending?

    r    Yes    r.   No
   If no, complete item 5. If yes, skip to item 6.
5. Resolution Details:
A. Date internal review concluded (MM/DD/YYYY):

    04/13/2016       r.   Exact   r   Explanation
    If not exact, provide explanation:
B. How was internal review concluded (provide details of the conclusion)?
    No further comment is provided in light of current litigation between the firm and the representative.
6. Comment (Optional). You may use this field to provide a brief summary of the circumstances leading to
    the action, as well as the current status or final disposition. Your information must fit within the space
    provided.
PART II
INDIVIDUAL SUBJECT MAY USE THIS SPACE FOR DETAILS TO AFFIRMATIVE ANSWERS OF ITEM
7(8) ONLY
The individual who is the subject of the internal review may provide a brief summary of this event limited
to 4000 characters. The summary may be submitted electronically to the Registration and Disclosure
Department by the terminating firm or may be sent via hard copy to:


Registration and Disclosure
FIN RA
P.O. Box 9495
Gaithersburg, MD 20898-9495


Note: Section 88. INDIVIDUAL ACKNOWLEDGEMENT AND CONSENT of the Form US requires
individuals to verify the accuracy and completeness of the information in Part II of the Internal Review
DRP. An executed (i.e. signed and dated) acknowledgement and consent must be submitted with the
summary.

                                                    Investigation DRP
                                                                                                ,Ji,
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                                                 No Information Filed


                                              Regulatory Action DRP



                                                 No Information Filed


                                                  Termination DRP


This Disclosure Reporting Page is an     r   INITIAL or      r.   AMENDED response to report details for
affirmative response(s) to Question(s) 7F on Form US;
Check the question(s} you are responding to, regardless of whether you are answering the
question(s} "yes" or amending the answer(s} to "no":
                                                   Termination                                           Rev. DRP (05/2009)

              f77F(l)                                    r   7F(2)                               r     7F(3)
                                       Click here to view question text
One event may result in more than one affirmative answer to the above items. Use only one DRP to report
details related to the same termination.
1. Firm Name:
    VALIC FINANCIAL ADVISORS, INC.
2. Termination Type:
   Voluntary Resignation
3. Termination Date:

    12/16/2015   r.   Exact   r   Explanation
    If not exact, provide explanation:
4. Allegation(s):
   The individual Voluntarily resigned while under suspension and investigation by the firm for sales
    practice concerns and violations of firm privacy policy and Code of Conduct.
 5. Product Type(s): (select all that apply)
       f7 No Product                         r   Derivative                       r   Mutual Fend
       r   Annuity-Charitable                r   Direct Investment-DPP & LP       r   Oil & Gas
                                             Interests
       r Annuity-Fixed                       r Equipment Leasing                  r   Options
       r Annuity-Variable                    r   Equity Listed (Common &          r   Penny SUck
                                              Preferred Stock)
       r   Banking Products (other than      r   Equity-OTC                       r   Prime Ba 1k Instrument
       CDs)
       rcD                                   r   Futures Commodity                r   Promisso ·y Note
       r   Commodity Option                  r   Futures-Financial                r   Real Est2 te Security
       r   Debt-Asset Backed                 r   Index Option                     r Security       :-utures
       r   Debt-Corporate                    r   Insurance                        r   Unit Investment Trust
       r   Debt-Government                   r   Investment Contract              r   Viatical '., ettlement
       r   Debt-Municipal                    r   Money Market Fund                r   Other:

 6. Comment (Optional). You may use this field to provide a brief summary of the circumstances leading to
    the termination. Your information must fit within the space provided.
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The firm has completed its compliance review. No further comment is provided in light of current
litigation between the firm and the representative.
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                          Exhibit 4
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 Hiron Stiell

 From:                                  Scurlock,
 Sent:                                  Friday, January 29, 2016 3:57 PM
 To:                                    Hiron Stiell
 Subject:                               You don't owe me an apology



 Hiron,

 You do not owe me an apology. You did the right thing.

 I did not mind the phone call and as you said and I do believe that I spoke to the concerns that many of our employees
 may have. He was very nice and we also spoke about my contacts with Brett's wife Jessica Laferrera also Valic financial
 advisor. Turns out by my checking this morning she was terminated/discharged by Va lie before Brett. Just so happened I
 got a Valic statement the day I talked to you in your office and my beneficiaries that were listed wrong and supposed to
 be changed were still wrong. Glad I am changing back to TIAA. I wish Va lie no ill will but they still should have notified UA
 and employees about a change in advisors even if they wanted to leave why they were no longer here.

 If you want to look ...

Jessica Laferrera
http ://broke re heck. fi nra .org/ Ind ivid ua 1/5 um ma ry/5612 54 0

What a shame for them and upsetting for us. They could have done so well if they had done what was right.

I left you voice message but I know you are always too busy to answer it!

Have a great weekend!

Jan




From: Hiron Stiell • • • • •
Sent: Friday, January 29, 2016 2:04 PM
To: Scurlock, Jan
Subject: RE: call from Valic to Jan
Importance: High



First off, please allow me to apologize. When I got your e-mail yesterday, I spoke to my managers about your concerns
because I thought they had good merit and needed to be addressed. Before I replied, I wanted to try to get some
answers. I shared the information you found on FINRA and told them of the concerns you had. I just wanted to make
sure that any response I provided you was accurate because it was important that any information you received from
this point on was true and not misleading in any way.




                                                                         1                            BAL 17-02145000248
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                          Exhibit 5
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                                                                                       VALIC
                                                                           VALIC Retirement Services Company
                                                                                              P.O. Box 15648
                                                                                           Amarillo, TX 79105

March 7, 2016




                                                                  Re: Accounts             and

Dear Ms.

Your additional concerns regarding the Guided Portfolio Service (GPS) fees assessed on the above
referenced accounts have been forwarded to me for review. I understand the importance of this matter
and appreciate the opportunity to provide the following information.

I am pleased to inform~ I C has initiated corrective activity to reverse all GPS fees assessed on
accounts l l l l l l l l m d - Please allow 15 business days from your receipt of this letter for the
correction to be completed. Once completed, you can view the correction online at V ALIC.com.

Additionally, please accept this letter as confirmation our research has found all payroll deductions taken
by your employer have been successfully applied to your VALIC accounts as regular contributions, and
there is no evidence of illicit activity regarding these payroll deductions. Should you have any additional
concerns regarding the conduct ofV ALIC or its representatives, please call our Contact Center at the
number provided below, or provide a detailed request in writing to the following address:

                                        V ALIC Document Control
                                        ATTN: Consumer Affairs
                                            P.O. Box 15648
                                        Amarillo, TX 79105-5648


~ALIC strives to provide quali; ~ervice and personal attention. Should you have any
questions regarding this matter, please call our VALIC Contact Center at
(800) 448-2542, Monday through Friday from 7:00 a.m. to 8:00 p.m. (CT), and a Customer Service
Representative will be pleased to assist you.

Sincerely,       - ·




~
Con~~eAffairs




                                                                                         BAL 17-02145000441
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                          Exhibit 6
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                                            DOCUME!\T 5




                      IN THE CIRCUIT OF TUSCALOOSA, ALABAMA

                             CIVIL ACTION NO. CV-2017-900115



BRETT LAFERRERA, an adult Alabama resident citizen and resident of Tuscaloosa County,
Alabama,

                                             Plaintiff,

vs.

JAN SCURLOCK, an adult Alabama resident citizen and resident of Tuscaloosa County,
Alabama;

                                             Defendant.


                             AFFIDAVIT OF JAN SCURLOCK

STATE OF ALABAMA                     )

COUNTY OF TUSCALOOSA                 )

       Comes now the affiant, Jan Scurlock, and on oath states the following:

1.     My name is Jan Scurlock, I am a resident of Tuscaloosa County, Alabama.

2.     I am over the age of 19 years and I have personal knowledge of the following.

3.      I am the Defendant named in the above lawsuit. I have read the allegations of the suit
and particularly the allegations contained in paragraphs 4 through IO of the Complaint and I am
familiar with these allegations.

4.     I have never made any type of complaint, either verbal or written, to any agent, servant,
employee or person of Variable Annuity Life Insurance Company or Valic Financial Advisors of
and concerning Mr. Brett LaFerrera.

5.     I have never meet with any agent, servant, employee, or person with Variable Annuity
Life Insurance Company or Valic Financial Advisors and made any type of complaint regarding
and concerning Mr. Brett LaFerrera.

6.     In addition to reading the allegations contained in paragraphs 4 through 10 of the
complaint on file in this action, I have also read exhibit I attached to this affidavit concerning
Mr. Brett LaFerrera which I understand is his information concerning complaints maintained by
the Financial Industry Regulatory Authority or FINRA.

                                                 1



                                                                                    BAL 17-02145005462
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                                                        DOCL'MENT 5




   7.     I never made the allegations or statements referenced in the January 28, 2016 customer
   dispute shown and contained in exhibit I to any agent, servant, employee, or person of Variable
   Annuity Life Insurance Company or Valic Financial Advisors of and concerning Mr. Brett
   LaFem:ra.

   8.      To my knowledge there has not and is not any money missing from my investment
   accounts with my employer the University of Alabama in anyway related to Mr. LaFerrera. ·To
   my knowledge there has not and is not any money which was deducted from my payroll and
   diverted to any companies which Mr. LaFerrera may own or have any type of ownership
   interests concerning.

             Further affiant sayeth not.

             This   Ji_ day of February, 2017.
          y),~      curlock, Affiant.


    STATE OF ALABAMA                    )

    COUNTY OF TUSCALOOSA                         )


            Sworn to and subscribed before me this           ft
                                                        day of February, 2017, a notary of public
    in the State of Alabama, County of Tuscaloosa, Alabama who subscribes that Jan Scurlock,
    being made known to me to the be the person who attested to the facts contained in this
    instrument and who personally appeared before me this date, did on oath, attest to the facts and
    executed this instrument.


              ~                     ifl
             ~
             My commission expires: ...!l::.J_·J:.._f_·J_1____


...::~·s_EAi:::-'--,,-.   MELODY LUNCEFORD
                    llqtary Public, Alabama Slate At Large
     :    • -:'     ~Commission Expires December 18, 2017




                                                             2



                                                                                        BAL 17-02145005463
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                          Exhibit 7
       Case 7:19-cv-00172-LSC Document 1 Filed 01/31/19 Page 47 of 52




From:               Zailskas Daniel
To:                 JESSICA LAEERRERA
Subject:            RE: Award 16-00910
Date:               Thursday, January 10, 2019 1:53:49 PM


Hi Ms. LaFerrera:


My understanding is that the language in the Award section of the document-these
recommendations shall apply to all previous and subsequent disclosures concerning this event-
addresses this.


Thanks,
Dan


From: JESSICA L.I\FERRERA <laferrera@comcast.net>
Sent: Thursday, January 10, 2019 2:37 PM
To: Zailskas, Daniel <Daniel.Zailskas@finra.org>
Subject: [EXTERNAL] Award 16-00910


Mr. Zailskas

Thank you for your help along the way in this ordeal. I am not sure if my email is protocol or
not. so please accept my apologies if I am not supposed to ask the following.

I have read over the award and there is no mention regarding the Scurlock complaint. This was
a request in the original counterclaim. and was agreed to be heard in the settlement agreement
and was addressed at the hearing. ls there a reason the panel issued no statement regarding that
request?

Any clarification would be helpful.

Again. please tell the panel thank you for their patience and attention.

Jessica

Confidentiality Notice:: This email. including attachments. may include non-public.
proprietary. confidential or legally privileged information. If you are not an intended recipient
or an authorized agent of an intended recipient. you are hereby notified that any dissemination,
distribution or copying of the information contained in or transmitted with this e-mail is
unauthorized and strictly prohibited. If you have received this email in error. please notify the
sender by replying to this message and permanently delete this e-mail. its attachments, and any
copies of it immediately. You should not retain. copy or use this e-mail or any attachment for
any purpose. nor disclose all or any part of the contents to any other person. Thank you.
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                          Exhibit 8
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From:                  Crownover Standridge
To:                    brad almood@alacourt aov
Cc:                    laferrera@comcast net
Subject:               Fwd: Declaratory Relief Scurlock Case
Date:                  Monday, March 19, 2018 1:47;25 PM


Dear Judge Almond,

To the extent that the Court can assist Mr. LaFerrera in his request, Ms. Scurlock, as we stated in the
summary judgment motion hearing, would have no objection to his request for expungement.

Jim Standridge


---------- Forwarded message ----------


From: Melody Lunceford <melodylunceford@gmail com>
Date: Mon. Mar 19, 2018 at 1:39 PM
Subject: Fwd: Declaratory Relief Scurlock Case
To: "CROWNOVERANDSTANDRJDGE@GMAIL COM"
<CROWNOVERANDSTANDRJDGE@gmail com>



1Ielolh· Luncefon..l
Legal .-\ssisranr
Cro\\·nover & Srandridge
~-\rrorne\·s ar La\\'
?(iQO 7th Street
T11se,1Joosa -\lahama   354()1
Telephone (?()5) 349 1"'""7
Fas (?()5) 349-J 779


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From: Brett LaFerrera <Laferrera@comcast net>
Date: Mon, Mar 19, 2018 at 10:48 AM
Subject: Declaratory Relief Scurlock Case
To: Melody Lunceford <meJodylunceford@gmaiJ com>



Mr. Standridge,




                                                                                           BAL 17-02145000442
         Case 7:19-cv-00172-LSC Document 1 Filed 01/31/19 Page 50 of 52




I am sure you are aware that Judge Almond granted your motion to dismiss. Howe 1er, he made no
ruling on my request for declaratory relief seeking expungement of the complaint ,illeged to have
been made by Ms. Scurlock. At the hearing you confirmed that no money was miscing from Ms.
Scurlock's accounts (which is supported by multiple documents) and you informed the court that
your client did not oppose the declaratory relief I sought. In fact, I seem to recall y,1u joined me in
asking the court to expunge the complaint from my record.




Since no ruling was made, I spoke with Judge Almond's office and they have reque;ted I submit a
motion specific to this topic. Would you confirm in writing that Ms. Scurlock does r,ot oppose the
court expunging the alleged complaint from my record. I do not believe the argunc.ents were
recorded so I have no transcript to reference. As such, I am respectfully seeking ycur help.




Thank you.




Brett




Cro\YnnYer & SranJriJge
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                                                                                          BAL 17-02145000443
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                          Exhibit 9
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2080. Obtaining an Order of Expungement of Customer Dispute Information from the
Central Registration Depository (CRD) System

      (a) Members or associated persons seeking to expunge information from the CRD system arising from disputes with
customers must obtain an order from a court of competent jurisdiction directing such expungement or confirming an
arbitration award containing expungement relief.

       (b) Members or associated persons petitioning a court for expungement relief or seeking judicial confirmation of an
arbitration award containing expungement relief must name FINRA as an additional party and serve FINRA with all
appropriate documents unless this requirement is waived pursuant to subparagraph (1) or (2) below.

          (1) Upon request, FINRA may waive the obligation to name FINRA as a party if FINRA determines that the
     expungement relief is based on affirmative judicial or arbitral findings that

                 (A) the claim, allegation or information is factually impossible or clearly erroneous;

                 (B) the registered person was not involved in the alleged investment-related sales practice violation,
           forgery, theft, misappropriation or conversion of funds; or

                 (C) the claim, allegation or information is false.

             (2) If the expungement relief is based on judicial or arbitral findings other than those described above, FINRA, in
      its sole discretion and under extraordinary circumstances, also may waive the obligation to name FINRA as a party if
      it determines that:

                 (A) the expungement relief and accompanying findings on which it is based are meritorious; and

               (B) the expungement would have no material adverse effect on investor protection, the integrity of the
           CRD system or regulatory requirements.

      (c) For purposes of this Rule, the terms "sales practice violation," "investment-related," and "involved" shall have the
meanings set forth in the Uniform Application for Securities Industry Registration or Transfer ("Form U4") in effect at the
time of issuance of the subject expungement order.

 Amended by SR-FINRA-2009-016 eff. Aug. 17, 2009.
 Amended by SR-NASD-2003-200 eff. April 12, 2004.
 Adopted by SR-NASD-2002-168 eff. April 12, 2004.

 Selected Notice: 04-16, 09-33.

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